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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                     Plaintiff,                                4:14CR3073

       vs.
                                                                 ORDER
 TARA SWITZER,

                     Defendant.

        The court has been presented a Financial Affidavit (CJA Form 23) signed
 by the above-named defendant in support of a request for appointed counsel.
 After a review of the Financial Affidavit, I find that the above-named defendant is
 eligible for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
 §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

        IT IS ORDERED that Nancy Peterson is appointed as attorney of record for
 the above-named defendant in this matter and shall forthwith file an appearance in
 this matter.

         IT IS FURTHER ORDERED that the Federal Public Defender’s Office
 shall forthwith provide counsel with a draft appointment order (CJA Form 20)
 bearing the name and other identifying information of the CJA Panel attorney
 identified in accordance with the Criminal Justice Act Plan for this district.

        IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
 order to the Federal Public Defender for the District of Nebraska and John Smith.

       DATED this 30th day of May, 2014.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
